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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA, FILED UNDER SEAL

 

)
Plaintiff, )
)
v. ) Civil Action No.
)
5 ANCHOR DRIVE , ) g §§
SANDWICH, MASSACHUSETTS, 9 w l 2@% n ~v\i"
Defendant. ) "

MEMORANDUM OF LAW IN
SUPPORT OF MOTION FOR ENTRY
OF A POST-COMPLAINT RESTRAINING ORDER

On this date, the United States has filed a civil complaint
alleging that the real property located at 5 Anchor Drive,
Sandwich, Massachusetts (the “Defendant Property”)is subject to
forfeiture pursuant to 21 U.S.C. § 881(a)(7). The Civil Asset
Forfeiture Reform Act of 2000 (“CAFRA”) provides the Court with
broad powers to issue orders to preserve property once a civil
forfeiture complaint has been filed. In this case, the United
States seeks a restraining order to prevent the transfer of the
Defendant Property without approval of the Court and to ensure
that the value of the Defendant Property is maintained during the
pendency of this forfeiture action.

ARGUMENT

l. The Court has authority to issue restraining orders
following the filing of a civil forfeiture complaint.

CAFRA vests the Court with wide authority to preserve the
availability of property for forfeiture. Section 983(j)(l)(A),

the provision governing the granting of restraining orders to

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maintain and secure property following the filing of a civil
forfeiture complaint, specifically provides:

(1) Upon application of the United States,
the court may enter a restraining order or
injunction, require the execution of
satisfactory performance bonds, create
receiverships, appoint conservators,
custodians, appraisers, accountants, or
trustees, or take any other action to seize,
secure, maintain, or preserve the
availability of property subject to civil
forfeiture-

(A) upon the filing of a civil forfeiture
complaint alleging that the property with
respect to which the order is sought is
subject to civil forfeiture;

18 U.S.C. § 983(j)(l)(A).

The statutory scheme for post-complaint restraining orders
set forth in Section 983(j)(1)(A) echoes that established in the
criminal context by 21 U.S.C. § 853(e)(1)(A), the provision
governing post-indictment restraining orders in criminal
forfeiture cases. In fact, the wording of Section 983(j)(l)(A)

almost precisely tracks the language of 21 U.S.C.

§ 853(e)(1)(A),l with the obvious exception that the language

 

l 21 U.s.c. § 853(e)(1)(A) provides:

(1) Upon application of the United States, the court may enter
a restraining order or injunction, require the execution of a
satisfactory performance bond, or take any other action to
preserve the availability of property described in subsection
(a) of this section for forfeiture under this section-

(A) upon the filing of an indictment or information charging
a violation. of this subchapter or subchapter II of this
chapter for which criminal forfeiture may be ordered under
this section and alleging that the property with respect to
which the order is sought would, in the event of conviction,
be subject to forfeiture under this section;.

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“upon the filing of a civil forfeiture complaint” is substituted
for “upon the filing of an indictment or information.” Given
these similarities in the two statutes, Section 853(e)(1)(A), and
the cases interpreting it, are useful as guides to analyzing
Section 983(j)(1)(A). See United States v. Jones, 160 F.3d 641,
649 n.5 (10th Cir. 1998)(noting that another statute, 18 U.S.C.

§ 1963(d)(1), “is identical in all pertinent respects to 21
U.S.C. § 853(e)(1),” and “may be used to construe § 853 due to
the similarity of the two statutes”)(internal citation omitted).
Indeed, a prior version of CAFRA made explicit Congress'
intention to extend the existing criminal forfeiture restraining
order provisions to the civil context, allowing the Court, before
or after the filing of a forfeiture complaint, to “enter any
restraining order or injunction in the manner set forth in

21 U.S.C. § 853(e) ” H.Rep. 105-358(1).

The language of the criminal and civil restraining order
provisions is straightforward, authorizing the Court to enter a
range of orders designed to maintain and preserve the
availability of property for forfeiture “upon the filing” of the
relevant document commencing the action. Interpreting this
language, the First Circuit has made clear that “under
§ 853(e)(1)(A), the indictment itself establishes the merits of
the government's case” for purposes of obtaining a restraining

order. United States v. Real Property in Waterboro. et al.,

 

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64 F.3d 752, 756 (lst Cir. 1995). The same rule should apply in
the civil context, with the probable cause established in the
United States' complaint being determinative for the purposes of
issuing a post-complaint restraining order. See Real Property in
Waterboro, 64 F.3d at 756 (“For the purposes of issuing a
restraining order, the probable cause established in the
indictment . . . is to be determinative of any issue regarding
the merits of the government's case on which the forfeiture is to
be based”)(quoting 1984 U.S.C.C.A.N. at 3386).

Similarly, as the First Circuit noted in Real Property in
Waterboro, the criminal statutory scheme distinguishes between
retraining orders sought before a case has been brought, which
require specific findings by the Court, and those sought after a
case has been brought, which do not. §§§ 64 F.3d at 756. CAFRA
applies the same statutory scheme in the civil context. Thus, in
contrast to 18 U.S.C. § 983(j)(1)(B), the provision governing the
issuance of restraining orders prior §§ the filing of a civil
forfeiture complaint, Section 983(j)(1)(A) does not require any
factual determinations by the Court. Instead, the filing of the
civil complaint alleging the forfeitability of the property
suffices as a basis for a restraining order under CAFRA. This
requirement is plainly met in this case, because, as noted above,
the United States has filed a complaint alleging that the

Defendant Property is subject to forfeiture. The Court may

 

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therefore enter a restraining order under Section 983(j)(1)(A).2

2. The restraining order sought by the United States
serves the interests underlying Section 983(j)(1)(A).

The governmental interests to be considered in fashioning a
restraining order are evident from the statutory language: “to
seize, secure, maintain, or preserve the availability of property
subject to civil forfeiture.” 18 U.S.C. § 983(j)(1)(A). Upon
the conclusion of the forfeiture action, if the United States
prevails, the Defendant Property will be forfeited pursuant to 21
U.S.C. § 881 (a) (7) as a result of violations of 21 U.S.C.

§§ 841, 846 and/or 856. As the Supreme Court has made clear in
the analogous criminal context, the purpose of the provision
authorizing restraining orders is to ensure that the commands of
the substantive forfeiture provision are carried out, that is,
that the property remains fully available at the end of the case,
United States v. Monsanto, 491 U.S. 600, 612-613 (1989); see l_
re Billman, 915 F.2d 916, 921 (4th Cir. 1990); United States v.
Bollin, 264 F.3d 391, 421 (4th Cir. 2001). Similarly, in the

civil forfeiture context, the Supreme Court -- even prior to

 

2 The United States notes that the Supplemental Rules for Admiralty or

Maritime and Asset Forfeiture Claims, which govern in rem civil forfeiture
actions, also give this Court authority to issue restraining orders. Rule
G(7)(a) of the Supplemental Rules provides:

When the government does not have actual possession of
the defendant property the court, on motion or on its
own, may enter any order necessary to preserve the
property, to prevent its removal or encumbrance, or to
prevent its use in a criminal offense.

 

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enactment of CAFRA -- noted that “the Government's legitimate
interests at the inception of forfeiture proceedings are to
ensure that the property not be sold, destroyed, or used for
further illegal activity prior to the forfeiture judgment.”
United States v. James Daniel Good Real Propertv, 510 U.S. 43, 58
(1993).

Here, the restraining order sought by the United States
serves these interests directly. The proposed order requires the
owners or other potential claimants to take certain, basic steps
to ensure that the Defendant Property (or its full value) remains
available for forfeiture. While these activities are explained
in more detail in the attached proposed order, they are
summarized below.

First, the proposed order prohibits (except without prior
approval of this Court and upon notice to the United States and
opportunity for the United States to be heard) the sale or
transfer of the Defendant Property. Obviously, if the Defendant
Property is transferred, it may not be available for forfeiture.
To preserve the interest of the United States in the value of the
Defendant Property, if any Court-approved transfer takes place,
the proposed order requires that the proceeds be made available
as a substitute r§§. The proposed restraining order also seeks
to preserve the Defendant Property by prohibiting the owners from

knowingly engaging in or allowing any illegal activity on the

 

 

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premises.

Second, the proposed order serves the United States'
recognized interest in maintaining the full value of the
forfeitable property. It requires reasonable precautions to
prevent physical damage. Qf4 18 U.S.C. § 2232 (providing up to
five years' imprisonment for anyone who knowingly “destroys,
damages, [or] wastes” property that is “subject to the in rem
jurisdiction of a United States court for purposes of civil
forfeiture under federal law,” for the purpose of “impairing or
defeating the court's continuing in rem jurisdiction over the
property”). The proposed order also seeks to prevent diminution
of the Defendant Property's value. It requires the owners to
perform normal maintenance of the yard and grounds, to maintain
fire, flood, and hazard insurance, and to pay taxes.

In addition, the proposed order is narrow in scope. It
restrains only the asset that the United States will become
entitled to upon the entry of a judgment of forfeiture, that is,
the Defendant Property. Moreover, the requested order does not
seek seizure of the Defendant Property. The Defendant Property
remains under the possession and control of its current owners.
The requested order simply provides some restraints to prevent
the property from being dissipated or removed from the Court's
jurisdiction pending the outcome of this litigation. In sum, the

proposed order enables the Court to ensure that the Defendant

 

 

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Property is secured, maintained and preserved for forfeiture.
CONCLUSION
For the foregoing reasons, the United States respectfully
requests the entry of a post-complaint restraining order in the
form submitted herewith.
Respectfully submitted,

CARMEN M. ORTIZ
United States Attorne,

   
  

By:

  

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